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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                    X
KATHLEEN ASHTON, Individually, as surviving Spouse,            03 MDL 1570 (GBD)(SN)
and Personal Representative of the Estate of THOMAS
ASHTON;                                                        Civil Case No.
JOHN ASHTON, as surviving parent of THOMAS ASHTON,
Deceased;
MARY BUCKLEY, as surviving Sibling of THOMAS
ASHTON, Deceased;                                              CONSOLIDATED COMPLAINT
COLLEEN AMATO, as surviving Sibling of THOMAS
ASHTON, Deceased;
                                                               Kreindler & Kreindler LLP
LORRAINE ABAD, Individually, as surviving Spouse,
and Personal Representative of the Estate of EDELMIRO          McGarry Salzman Penson & Lim
ABAD, Deceased;

GWYNETTA HURST ROSSI, Individually, as surviving
Parent, and Personal Representative of the Estate of
SHANNON L. ADAMS, Deceased;
KYLE ADAMS-FLOYD, as surviving Sibling of
SHANNON L. ADAMS, Deceased;
MICHAEL J. ADAMS, as surviving Sibling of
SHANNON L. ADAMS, Deceased;

MARY E. ADDERLEY, Individually, as surviving
Parent, and Personal Representative of the Estate of
TERENCE ADDERLEY, JR., Deceased;

CARMEN AGNES, Individually, as surviving Parent,
and Personal Representative of the Estate of DAVID
AGNES, Deceased;

MILTIADIS AHLADIOTIS, Individually, as surviving
Parent, and Personal Representative of the Estate of
JOANNE AHLADIOTIS, Deceased;
EFFIE AHLADIOTIS-SALLOUM, as surviving Sibling
of JOANNE AHLADIOTIS, Deceased;

KIM TRIMINGHAM-AIKEN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
TERRANCE AIKEN, Deceased;

DONNA L. ALBERT, Individually, as surviving Spouse,
and Personal Representative of the Estate of JON L.
ALBERT, Deceased;
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JOSEPHINE ALGER, Individually, as surviving Spouse,
and Personal Representative of the Estate of DAVID D.
ALGER, Deceased;

ANGELICA ALLEN, Individually, as surviving Spouse,
and Personal Representative of the Estate of ERIC
ALLEN, Deceased;

EMILY YAREMBINSKY, Individually, as surviving
Child, and Personal Representative of the Estate of
ANGELO AMARANTO, Deceased;

DEBORAH AMATO, Individually, as surviving Spouse,
and Personal Representative of the Estate of JAMES M.
AMATO, Deceased;

GEORGE ANDRUCKI, Individually, as surviving
Parent, and Personal Representative of the Estate of
JEAN ANDRUCKI, Deceased;

ANNE ANGELINI, Individually, as surviving Spouse,
and Personal Representative of the Estate of JOSEPH J.
ANGELINI, SR., Deceased;

PERRY ORETZKY, as Personal Representative of the
Estate of DAVID L. ANGELL, Deceased;

PERRY ORETZKY, as Personal Representative of the
Estate of MARY LYNN EDWARDS ANGELL,
Deceased;

KATHLEEN APOSTOL, Individually, as surviving
Spouse, and Personal Representative of the Estate of
FAUSTINO APOSTOL, JR., Deceased;

ALEXANDER ARANYOS, Individually, as surviving
Spouse, and Personal Representative of the Estate of
PATRICK ARANYOS, Deceased;

MARGARET ARCE, Individually, as surviving Parent,
and Personal Representative of the Estate of DAVID
ARCE, Deceased;

VICKIE ARESTEGUI, Individually, as surviving
Sibling, and Personal Representative of the Estate of
BARBARA ARESTEGUI, Deceased;



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MARGIT ARIAS, Individually, as surviving Spouse, and
Personal Representative of the Estate of ADAM P.
ARIAS, Deceased;

EVELYN ARON, Individually, as surviving Spouse, and
Personal Representative of the Estate of JACK C.
ARON, Deceased;

LORI ANN ARCZYNSKI, Individually, as surviving
Spouse, and Personal Representative of the Estate of
MICHAEL G. ARCZYNSKI, Deceased;

JOANN ATLAS, Individually, as surviving Spouse, and
Personal Representative of the Estate of GREGG A.
ATLAS, Deceased;

NANCY BADAGLIACCA, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOHN BADAGLIACCA, Deceased;

CHRISTINA BAKSH, Individually, as surviving
Spouse, and Personal Representative of the Estate of
MICHAEL BAKSH, Deceased;

JOANNE BARBARA, Individually, as surviving
Spouse, and Personal Representative of the Estate of
GERARD BARBARA, Deceased;
PAUL BARBARA, as surviving Child of GERARD
BARBARA, Deceased;
CAREN VILLARREAL, as surviving Child of
GERARD BARBARA, Deceased;

MONICA BARBELLA, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JAMES W. BARBELLA, Deceased;

DIANNE M. WALSH, Individually, as surviving
Sibling, and Personal Representative of the Estate of
CHRISTINE BARBUTO, Deceased;

DANIEL F. BARKOW, Individually, as surviving
Spouse, and Personal Representative of the Estate of
COLLEEN BARKOW, Deceased;




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JEANNINE P. BARON, Individually, as surviving
Spouse, and Personal Representative of the Estate of
EVAN J. BARON, Deceased;
ETHAN BARON, as surviving Child of EVAN J.
BARON, Deceased;
JEANNINE P. BARON on behalf of JULIA BARON,
minor, as surviving Child of EVAN J. BARON,
Deceased;

JANE BARTELS, Individually, as surviving Spouse, and
Personal Representative of the Estate of CARLTON
BARTELS, Deceased;

VLADIMIR BASIN, Individually, as surviving Spouse,
and Personal Representative of the Estate of INNA
BASINA, Deceased;

ELAINE LEINUNG, Individually, as surviving Parent,
and Personal Representative of the Estate of PAUL
BATTAGLIA, Deceased;

KIMBERLY K. BEAVEN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ALAN BEAVEN, Deceased;

MICHELLE LAVARONE, Individually, as surviving
Spouse, and Personal Representative of the Estate of
CARL BEDIGIAN, Deceased;

LOWELL BELL, Individually, as surviving Parent, and
Personal Representative of the Estate of NINA P. BELL,
Deceased;
PATRICIA BELL, as surviving Parent of NINA P.
BELL, Deceased;
LOWELL F. BELL, as surviving Sibling of NINA P.
BELL, Deceased;
DEBORAH HARRISON, as surviving Sibling of NINA
P. BELL, Deceased;

 JOSEPH BERARDI, Individually, as surviving Parent,
 and Personal Representative of the Estate of DOMINICK
 J. BERARDI, Deceased;

 SUSAN BERGER, Individually, as surviving Spouse,
 and Personal Representative of the Estate of STEVEN H.
 BERGER, Deceased;



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 MELISSA BERGER, as surviving Child of STEVEN H.
 BERGER, Deceased;

MADELINE BERGIN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOHN BERGIN, Deceased;
KATIE BERGIN, as surviving Child of JOHN BERGIN,
Deceased;
SHANNON BERGIN, as surviving Child of JOHN
BERGIN, Deceased;
JOHN BERGIN, as surviving Child of JOHN BERGIN,
Deceased;

LOURDES PEREZ-BERKELEY, Individually, as
surviving Spouse, and Personal Representative of the
Estate of MICHAEL J. BERKELEY, Deceased;

CHARLES BERKELEY, Individually, as surviving
Parent, and Co-Personal Representative of the Estate of
GRAHAM A. BERKELEY, Deceased;
PAULINE BERKELEY, Individually, as surviving
Parent, and Co-Personal Representative of the Estate of
GRAHAM A. BERKELEY, Deceased;

PAULA BERRY, Individually, as surviving Spouse, and
Personal Representative of the Estate of DAVID S.
BERRY, Deceased;

VALERIE BETHKE, Individually, as surviving Spouse,
and Personal Representative of the Estate of WILLIAM
R. BETHKE, Deceased;

SIRAK BETRU, Individually, as surviving Sibling, and
Personal Representative of the Estate of YENENEH
BETRU, Deceased;

THERESA CLARNER, Individually, as surviving
Parent, and Personal Representative of the Estate of
PETER BEIFELD, Deceased;

ARLENE BEYER, Individually, and as Estate
Representative of the Estate of Arlene Beyer, Deceased
and on behalf of all survivors of Arlene Beyer;




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MIRIAM BIEGELEISEN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
SHIMMY D. BIEGELEISEN, Deceased;

CHRISTINE BINI, Individually, as surviving Spouse,
and Personal Representative of the Estate of CARL
BINI, Deceased;
STEFANIE PARISH, as surviving Child of CARL BINI,
Deceased;
DESIREE DIDONNA, as surviving Child of CARL
BINI, Deceased;

MARCEL BIRNBAUM, Individually, as surviving
Parent, and Personal Representative of the Estate of
JOSHUA BIRNBAUM, Deceased;

DEBORAH BLANDING, Individually, as surviving
Spouse, and Personal Representative of the Estate of
HARRY A. BLANDING, JR., Deceased;
BENJAMIN BLANDING, as surviving Child of
HARRY A. BLANDING, JR., Deceased;

KRIS BLOOD, Individually, as surviving Spouse, and
Personal Representative of the Estate of RICHARD M.
BLOOD, JR., Deceased;
MICHAEL BLOOD, as surviving Child of RICHARD
M. BLOOD, JR., Deceased;
MADELINE BLOOD, as surviving Child of RICHARD
M. BLOOD, JR. Deceased;

DOROTHY A. BOGDAN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
NICHOLAS BOGDAN, Deceased;
DOROTHY A. BOGDAN on behalf of EMILY
BOGDAN, minor, as surviving Child of NICHOLAS
BOGDAN, Deceased;

MARIA BOISSEAU, Individually, as surviving Spouse,
and Personal Representative of the Estate of
LAWRENCE BOISSEAU, Deceased;

 CYNTHIA LEWIS, Individually, as surviving Sibling,
 and Personal Representative of the Estate of SHERRY
 ANN BORDEAUX, Deceased;




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TRACI BOSCO-MYHAL, Individually, as surviving
Spouse, and Personal Representative of the Estate of
RICHARD EDWARD BOSCO, Deceased;

FREDERICK BOWERS, JR., Individually, as surviving
Parent, and Personal Representative of the Estate of
KIMBERLY S. BOWERS, Deceased;

LINDA BOWMAN, Individually, as surviving Spouse,
and Personal Representative of the Estate of LARRY
BOWMAN, Deceased;

KATHLEEN BOX, Individually, as surviving Spouse,
and Personal Representative of the Estate of GARY
BOX, Deceased;

JOLANTA BOYARSKY, Individually, as surviving
Spouse, and Personal Representative of the Estate of
GENNADY BOYARSKY, Deceased;
MICHAEL BOYARSKY, as surviving Child of
GENNADY BOYARSKY, Deceased;
BEATA BOYARSKY, as surviving Sibling of
GENNADY BOYARSKY, Deceased;

JAMES BOYLE, Individually, as surviving Parent, and
Personal Representative of the Estate of MICHAEL
BOYLE, Deceased;

JEAN BRACA, Individually, as surviving Spouse, and
Personal Representative of the Estate of ALFRED
BRACA, Deceased;

DAVID E. BRACE, Individually, as surviving Spouse,
and Personal Representative of the Estate of SANDRA J.
CONATY-BRACE, Deceased;

PHILLIP G. BRADSHAW, Individually, as surviving
Spouse, and Personal Representative of the Estate of
SANDRA W. BRADSHAW, Deceased;

JENNIFER E. BRADY, Individually, as surviving
Spouse, and Personal Representative of the Estate of
DAVID B. BRADY, Deceased;




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RANULFO GAMBOA, as Co-Personal Representative
of the Estate of DAVID REED GAMBOA-
BRANDHORST, Deceased;
RENEE GAMBOA, as Co-Personal Representative of
the Estate of DAVID REED GAMBOA-
BRANDHORST, Deceased;

MIA GONZALEZ, Individually, as surviving Child, and
Personal Representative of the Estate of
LYDIA E. BRAVO, Deceased;

EDWARD BRENNAN, Individually, as surviving
Parent, and Personal Representative of the Estate of
EDWARD A. BRENNAN, III, Deceased;

HILLARY A. BRILEY, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JONATHAN E. BRILEY, Deceased;

URSULA BROGHAMMER, Individually, as surviving
Spouse, and Personal Representative of the Estate of
HERMAN C. BROGHAMMER, Deceased;

EDWARD RADBURN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
BETTINA BROWNE-RADBURN, Deceased;

DAWN BRYFOGLE, Individually, as surviving Spouse,
and Personal Representative of the Estate of MARK
BRUCE, Deceased;
DIANE BRUCE, as surviving Parent of MARK BRUCE,
Deceased;
STEPHEN BRUCE, as surviving Sibling of MARK
BRUCE, Deceased;
DAVID BRUCE, as surviving Sibling of MARK
BRUCE, Deceased;
DAVID BRUCE, as Personal Representative of the
Estate of HAROLD TRUMAN BRUCE, Deceased,
surviving Parent of MARK BRUCE;

JO ANNE BRUEHERT, Individually, as surviving
Spouse, and Personal Representative of the Estate of
RICHARD BRUEHERT, Deceased;
CHRISTINA BRUEHERT, as surviving Child of
RICHARD BRUEHERT, Deceased;




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JO ANNE BRUEHERT on behalf of DANIELLE
BRUEHERT, minor, as surviving Child of RICHARD
BRUEHERT, Deceased;
JOHN BRUEHERT, as surviving Sibling of RICHARD
BRUEHERT, Deceased;

SUSAN E. WHELAN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
PATRICK BUHSE, Deceased;
SLOAN BUHSE, as surviving Child of PATRICK
BUHSE, Deceased;
WILLIAM F. BUHSE, as surviving Child of PATRICK
BUHSE, Deceased;
WILLIAM BUHSE, as surviving Sibling of PATRICK
BUHSE, Deceased;
THOMAS BUHSE, as surviving Sibling of PATRICK
BUHSE, Deceased;
SUANNE KAZANECKI, as surviving Sibling of
PATRICK BUHSE, Deceased;
MICHAEL BUHSE, as surviving Sibling of PATRICK
BUHSE, Deceased;

DAVID BURFORD, Individually, as surviving Parent,
and Personal Representative of the Estate of
CHRISTOPHER BURFORD, Deceased;

JULIE BURKE, Individually, as surviving Spouse, and
Personal Representative of the Estate of THOMAS
DANIEL BURKE, Deceased;

ELIZABETH BURNS, Individually, as surviving
Spouse, and Personal Representative of the Estate of
DONALD J. BURNS, Deceased;

SANDRA BURNSIDE, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOHN P. BURNSIDE, Deceased;

NGORAN DJE, Individually, as surviving Spouse, and
Personal Representative of the Estate of IRINA BUSLO,
Deceased;

MARTHA BUTLER, Individually, as surviving Spouse,
and Personal Representative of the Estate of THOMAS
M. BUTLER, Deceased;




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JAMES C. CAHILL, Individually, as surviving Parent,
and Personal Representative of the Estate of SCOTT W.
CAHILL, Deceased;
LINDA CAHILL, as surviving Parent of SCOTT W.
CAHILL, Deceased;
PATRICK CAHILL, as surviving Sibling of SCOTT W.
CAHILL, Deceased;

JAMES W. CAHILL, Individually, as surviving Parent,
and Personal Representative of the Estate of THOMAS J.
CAHILL, Deceased;
KATHLEEN CAHILL, as surviving Parent of THOMAS
J. CAHILL, Deceased;
JAMES CAHILL, as surviving Sibling of THOMAS J.
CAHILL, Deceased;
KATHLEEN PSIROGIANES, as surviving Sibling of
THOMAS J. CAHILL, Deceased;
KERRY KERIN, as surviving Sibling of THOMAS J.
CAHILL, Deceased;
CHRISTOPHER CAHILL, as surviving Sibling of
THOMAS J. CAHILL, Deceased;

SUSAN CALCAGNO, Individually, as surviving
Spouse, and Personal Representative of the Estate of
PHILIP CALCAGNO, Deceased;

DEBORAH CALDERON, Individually, as surviving
 Spouse, and Personal Representative of the Estate of
EDWARD CALDERON, Deceased;
IDA BRUNO, as surviving Parent of EDWARD
CALDERON, Deceased;
 VICENTE CALDERON, as surviving Parent of
EDWARD CALDERON, Deceased;
 CAROLINE OTERO, as surviving Sibling of EDWARD
 CALDERON, Deceased;
 VINCENT CALDERON, JR., as surviving Sibling of
 EDWARD CALDERON, Deceased;
 CATHY CALDERON, as surviving Sibling of
EDWARD CALDERON, Deceased;
MARIZA CALDERON, as surviving Sibling of
EDWARD CALDERON, Deceased;
 ANTHONY CALDERON, as surviving Sibling of
 EDWARD CALDERON, Deceased;




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JANET CALIA-DONOHUE, Individually, as surviving
Spouse, and Personal Representative of the Estate of
DOMINICK CALIA, Deceased;

VINCENT CANGELOSI, Individually, as surviving
Parent, and Personal Representative of the Estate of
VINCENT A. CANGELOSI, Deceased;
MICHELLE CANGELOSI, as surviving Parent of
VINCENT A. CANGELOSI, Deceased;

JACKIE CANNIZZARO, Individually, as surviving
Spouse, and Personal Representative of the Estate of
BRIAN CANNIZZARO, Deceased;

LORI CAPORICCI, Individually, as surviving Spouse,
and Personal Representative of the Estate of LOUIS
CAPORICCI, Deceased;

RICHARD PETER CARNEY, Individually, as surviving
Sibling, and Personal Representative of the Estate of
MARK CARNEY, Deceased;

PATRICIA CARRINGTON, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JEREMY CARRINGTON, Deceased;

TONI ANN CARROLL, Individually, as surviving
Spouse, and Personal Representative of the Estate of
PETER J. CARROLL, Deceased;

NANCY CARROLL, Individually, as surviving Spouse,
and Personal Representative of the Estate of MICHAEL
T. CARROLL, Deceased;
BRENDAN CARROLL, as surviving Child of
MICHAEL T. CARROLL, Deceased;
OLIVIA CARROLL, as surviving Child of MICHAEL
T. CARROLL, Deceased;
ELEANOR CARROLL, as surviving Parent of
MICHAEL T. CARROLL, Deceased;
NANCY AMIGRON, as surviving Sibling of MICHAEL
T. CARROLL, Deceased;

CARLOS CASORIA, Individually, as surviving Parent,
and Co-Personal Representative of the Estate of
THOMAS CASORIA, Deceased;




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JUDITH CASORIA, Individually, as surviving Parent,
and Co-Personal Representative of the Estate of
THOMAS CASORIA, Deceased;

LEONARD A. CASTRIANNO, SR., Individually, as
surviving Parent, and Personal Representative of the
Estate of LEONARD M. CASTRIANNO, JR., Deceased;

SANTA CATARELLI, Individually, as surviving
Spouse, and Personal Representative of the Estate of
RICHARD G. CATARELLI, Deceased;
SANTA CATARELLI, on behalf of ANAMARIE
CATARELLI, minor, as surviving Child of RICHARD
G. CATARELLI, Deceased;

GINA CAYNE, Individually, as surviving Spouse, and
Personal Representative of the Estate of JASON
CAYNE, Deceased;
MARISSA CAYNE, as surviving Child of JASON
CAYNE, Deceased;
GINA CAYNE on behalf of RAQUEL CAYNE, minor,
as surviving Child of JASON CAYNE, Deceased;
SUZANN CAYNE, as surviving Child of JASON
CAYNE, Deceased;

GERALDINE CEFALU, Individually, as surviving
Parent, and Personal Representative of the Estate of
JASON CEFALU, Deceased;

BOB CHEATHAM, Individually, as surviving Spouse,
and Personal Representative of the Estate of DELROSE
FORBES CHEATHAM, Deceased;

SUK TAN CHIN, Individually, as surviving Sibling, and
Personal Representative of the Estate of ROBERT
CHIN, Deceased;
PAK HO CHIN, as surviving Parent of ROBERT CHIN,
Deceased;
YUET LING CHIN, as surviving Parent of ROBERT
CHIN, Deceased;

EDWARD CIAFARDINI, Individually, as surviving
Parent, and Personal Representative of the Estate of
CHRISTOPHER CIAFARDINI, Deceased;
MAGGIE CIAFARDINI, as surviving Parent of
CHRISTOPHER CIAFARDINI, Deceased;



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DOMINIC CIAFARDINI, as surviving Sibling of
CHRISTOPHER CIAFARDINI, Deceased;

LISA DILALLO CLARK, Individually, as surviving
Spouse, and Personal Representative of the Estate of
THOMAS R. CLARK, Deceased;

YUKO CLARK, Individually, as surviving Spouse, and
Personal Representative of the Estate of GREGORY A.
CLARK, Deceased;

TANYA KIM DAVIS, Individually, as surviving Child,
and Personal Representative of the Estate of MANNIE L.
CLARK, Deceased;

ROBERT CLARK, Individually, as surviving Sibling,
and Personal Representative of the Estate of EUGENE
CLARK, Deceased;

CHARLES CLYNE, Individually, as surviving Spouse,
and Personal Representative of the Estate of SUSAN M.
CLYNE, Deceased;
MICHAEL CLYNE, as surviving Child of SUSAN M.
CLYNE, Deceased;
MARIE S. CLYNE, as surviving Child of SUSAN M.
CLYNE, Deceased;
KEVIN P. CLYNE, as surviving Child of SUSAN M.
CLYNE, Deceased;
TIMOTHY D. CLYNE, as surviving Child of SUSAN
M. CLYNE, Deceased;
GRACE DIETRICH, as surviving Parent of SUSAN M.
CLYNE, Deceased;
KURT H. DIETRICH, as surviving Sibling of SUSAN
M. CLYNE, Deceased;
LINDA G. CREAMER, as surviving Sibling of SUSAN
M. CLYNE, Deceased;

VINCENT COAKLEY, Individually, as surviving
Parent, and Personal Representative of the Estate of
STEVEN COAKLEY, Deceased;

SUSAN HUTCHINS, Individually, as surviving Parent,
and Personal Representative of the Estate of KEVIN
COLBERT, Deceased;
ANDREW COLBERT, as surviving Sibling of KEVIN
COLBERT, Deceased;



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MATTHEW CARROLL, as surviving Sibling of KEVIN
COLBERT, Deceased;
ALEXANDER CARROLL, as surviving Sibling of
KEVIN COLBERT, Deceased;

MARYANN COLIN, Individually, as surviving Spouse,
and Personal Representative of the Estate of ROBERT D.
COLIN, Deceased;

JULIA COLLINS, Individually, as surviving Spouse, and
Personal Representative of the Estate of THOMAS J.
COLLINS, Deceased;

WARREN COLODNER, Individually, as surviving
Spouse, and Personal Representative of the Estate of
PATRICIA COLODNER, Deceased;

BENITO COLON, Individually, as surviving Spouse,
and Personal Representative of the Estate of SOL E.
COLON, Deceased;

PATRICIA COPPO, Individually, as surviving Spouse,
and Personal Representative of the Estate of JOSEPH J.
COPPO, JR., Deceased;

FELICIA JONES, Individually, as surviving Spouse, and
Personal Representative of the Estate of JOSEPH
CORBETT, Deceased;

SUSAN CORREA, Individually, and as Estate
Representative of the Estate of Ruben Correa, Deceased
and on behalf of all survivors of Ruben Correa;

LAURIE S. LAUTERBACH, Individually, as surviving
Spouse, and Personal Representative of the Estate of
CARLOS CORTES-RODRIGUEZ, Deceased;

PAULA HAYES, Individually, as surviving Spouse, and
Personal Representative of the Estate of CONROD
COTTOY, Deceased;

PATRICIA COUGHLIN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOHN G. COUGHLIN, Deceased;
ERIN COUGHLIN, as surviving Child of JOHN G.
COUGHLIN, Deceased;



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 TARA COUGHLIN, as surviving Child of JOHN G.
 COUGHLIN, Deceased;
 KAYLE COUGHLIN, as surviving Child of JOHN G.
 COUGHLIN, Deceased;

DENNIS EULAU, Individually, as surviving Spouse,
and Personal Representative of the Estate of MICHELE
COYLE-EULAU, Deceased;
MATTHEW EULAU, as surviving Child of MICHELE
COYLE-EULAU, Deceased;
MARK EULAU, as surviving Child of MICHELE
COYLE-EULAU, Deceased;
DENNIS EULAU on behalf of ERIC EULAU, minor, as
surviving Child of MICHELE COYLE-EULAU,
Deceased;

JOHN T. CRANT, Individually, as surviving Spouse,
and Personal Representative of the Estate of DENISE
CRANT, Deceased;

LISA B. CRAWFORD, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JAMES L. CRAWFORD, JR., Deceased;
LISA B. CRAWFORD on behalf of ISABELLE
CRAWFORD, minor, as surviving Child of JAMES L.
CRAWFORD, JR., Deceased;

BERNARD PHAIR, Individually, as surviving Estate
Rep, and Personal Representative of the Estate of
JOANNE CREGAN, Deceased;

JOANN CROSS, Individually, as surviving Spouse, and
Personal Representative of the Estate of DENNIS A.
CROSS, Deceased;

MARIANNE CRUIKSHANK, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ROBERT CRUIKSHANK, Deceased;

ILDEFONSO A. CUA, Individually, as surviving
Spouse, and Personal Representative of the Estate of
GRACE CUA, Deceased;

LINDA CURIA, Individually, as surviving Spouse, and
Personal Representative of the Estate of LAURENCE
CURIA, Deceased;



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FREDERICK CURRY, Individually, as surviving
Spouse, and Personal Representative of the Estate of
BEVERLY CURRY, Deceased;

DAVID E. CUSHING, Individually, as surviving
Spouse, and Personal Representative of the Estate of
PATRICIA CUSHING, Deceased;

LOUANNE BAILY, Individually, as surviving Spouse,
and Personal Representative of the Estate of BRIAN P.
DALE, Deceased;

LOUISA D'ANTONIO, Individually, as surviving Child,
and Personal Representative of the Estate of MARY
D'ANTONIO, Deceased;

ANGELA DANZ-DONOHUE, Individually, as
surviving Spouse, and Personal Representative of the
Estate of VINCENT DANZ, Deceased;
ANGELA DANZ-DONOHUE on behalf of ABIGAIL
DANZ, minor, as surviving Child of VINCENT DANZ,
Deceased;

LIDIA HERNANDEZ, Individually, as surviving Parent,
and Personal Representative of the Estate of MIRNA A.
DUARTE, Deceased;

PATRICIA DEAN, Individually, as surviving Spouse,
and Personal Representative of the Estate of WILLIAM
DEAN, Deceased;

PATRICIA J. DEANGELIS, Individually, as surviving
Spouse, and Personal Representative of the Estate of
THOMAS P. DEANGELIS, Deceased;

ERNESTO BARRERA, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ANA DEBARRERA, Deceased;

MARION DEBLASE, Individually, as surviving Spouse,
and Personal Representative of the Estate of JAMES V.
DEBLASE, Deceased;




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SOFIE CIRINELLI, Individually, as surviving Spouse,
and Personal Representative of the Estate of DAVID
DEFEO, Deceased;

WANDA HERNANDEZ, Individually, as surviving
Parent, and Personal Representative of the Estate of
MONIQUE E. DEJESUS, Deceased;

JAMES DELLA BELLA, Individually, as surviving
Child, and Personal Representative of the Estate of
ANDREA DELLA BELLA, Deceased;

CHRISTOPHER PIETRA, Individually, as surviving
Sibling, and Personal Representative of the Estate of
JOSEPH DELLA PIETRA, Deceased;

MICHAEL DELOUGHERY, Individually, as surviving
Spouse, and Personal Representative of the Estate of
COLLEEN ANN DELOUGHERY, Deceased;
MICHAEL DELOUGHERY, as surviving Child of
COLLEEN ANN DELOUGHERY, Deceased;
AMANDA DELOUGHERY, as surviving Child of
COLLEEN ANN DELOUGHERY, Deceased;
PATRICIA MARRESE, as surviving Sibling of
COLLEEN ANN DELOUGHERY, Deceased;

VIVI DEMAS, Individually, as surviving Spouse, and
Personal Representative of the Estate of ANTHONY
DEMAS, Deceased;

BROOKE DEMING, Individually, as surviving Spouse,
and Personal Representative of the Estate of FRANCIS
DEMING, Deceased;

CURTIS F. BREWER, Individually, as surviving
Spouse, and Personal Representative of the Estate of
CAROL K. DEMITZ, Deceased;
ANNE K. BREWER, as surviving Child of CAROL K.
DEMITZ, Deceased;
CHARLES DEMITZ, as surviving Sibling of CAROL K.
DEMITZ, Deceased;
WOODY DEMITZ, as surviving Sibling of CAROL K.
DEMITZ, Deceased;
MICHAEL DEMITZ, as surviving Sibling of CAROL K.
DEMITZ, Deceased;




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SUSAN DEMITZ, as surviving Sibling of CAROL K.
DEMITZ, Deceased;

CHRISTEL DESIMONE, Individually, as surviving
Parent, and Personal Representative of the Estate of
CHRISTIAN DESIMONE, Deceased;
MARTIN DESIMONE-CALISO, as surviving Sibling of
CHRISTIAN DESIMONE, Deceased;
TODD DEVITO, Individually, as surviving Child, and
Personal Representative of the Estate of JERRY
DEVITO, Deceased;

JOYCE DEVITT, Individually, as surviving Parent, and
Personal Representative of the Estate of ROBERT
DEVITT, JR., Deceased;

DONNA DI AGOSTINO, Individually, as surviving
Spouse, and Personal Representative of the Estate of
MICHAEL DI AGOSTINO, Deceased;
DONNA DI AGOSTINO on behalf of CHRISTINA DI
AGOSTINO, minor, as surviving Child of MICHAEL DI
AGOSTINO, Deceased;

LEONEL DIAZ, Individually, as surviving Sibling, and
Personal Representative of the Estate of NANCY DIAZ,
Deceased;

MARIA DI PILATO, Individually, as surviving Spouse,
and Personal Representative of the Estate of JOSEPH DI
PILATO, Deceased;
LEO DI PILATO, as surviving Child of JOSEPH DI
PILATO, Deceased;
JOSEPH DI PILATO, as surviving Child of JOSEPH DI
PILATO, Deceased;

JEFFREY SCHORPP, Individually, as surviving Spouse,
and Personal Representative of the Estate of MARISA
DINARDO SCHORPP, Deceased;

JOAN DINCUFF, Individually, as surviving Parent, and
Personal Representative of the Estate of CHRISTOPHER
DINCUFF, Deceased;
FRANK DINCUFF, as surviving Parent of
CHRISTOPHER DINCUFF, Deceased;
BETH DINCUFF, as surviving Sibling of
CHRISTOPHER DINCUFF, Deceased;



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AMY DINCUFF, as surviving Sibling of
CHRISTOPHER DINCUFF, Deceased;

ANDY DINNOO, Individually, as surviving Spouse, and
Personal Representative of the Estate of RENA
DINNOO, Deceased;
DHANMATEE SAM, as surviving Parent of RENA
DINNOO, Deceased;
CLARENCE SAM, as surviving Sibling of RENA
DINNOO, Deceased;
LISA SAM, as surviving Sibling of RENA DINNOO,
Deceased;
GINA SAM, as surviving Sibling of RENA DINNOO,
Deceased;

DAVID DISTEFANO, Individually, as surviving
Sibling, and Personal Representative of the Estate of
DOUGLAS DISTEFANO, Deceased;

STACEY DOLAN, Individually, as surviving Spouse,
and Personal Representative of the Estate of BRENDAN
DOLAN, Deceased;

ROSALIE B. DOWNEY, Individually, as surviving
Spouse, and Personal Representative of the Estate of
RAYMOND M. DOWNEY, Deceased;

MARY DUNNE, Individually, as surviving Parent, and
Personal Representative of the Estate of CHRISTOPHER
J. DUNNE, Deceased;
JAY DUNNE, as surviving Parent of CHRISTOPHER J.
DUNNE, Deceased;
COURTNEY DUNNE-KEENAN, as surviving Sibling
of CHRISTOPHER J. DUNNE, Deceased;
CYNTHIA DUNNE-WELCH, as surviving Sibling of
CHRISTOPHER J. DUNNE, Deceased;

GAIL EAGLESON, Individually, as surviving Spouse,
and Personal Representative of the Estate of JOHN B.
EAGLESON, Deceased;
BRETT EAGLESON, as surviving Child of JOHN B.
EAGLESON, Deceased;
KYLE EAGLESON, as surviving Child of JOHN B.
EAGLESON, Deceased;
TIMOTHY EAGLESON, as surviving Child of JOHN B.
EAGLESON, Deceased;



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WILLIAM EAGLESON, as surviving Sibling of JOHN
B. EAGLESON, Deceased;

STANLEY ECKNA, Individually, as surviving Parent,
and Personal Representative of the Estate of PAUL
ECKNA, Deceased;

DAVID EGAN, Individually, as surviving Parent, and
Personal Representative of the Estate of LISA E. EGAN,
Deceased;

DAVID EGAN, Individually, as surviving Parent, and
Personal Representative of the Estate of SAMANTHA
M. EGAN, Deceased;

SAM ELLIS, Individually, as surviving Spouse, and
Personal Representative of the Estate of VALERIE S.
ELLIS, Deceased;

EILEEN ERWIN-MICHAEL, Individually, as surviving
Spouse, and Personal Representative of the Estate of
WILLIAM ERWIN, Deceased;

LUIS ESPINOZA, Individually, as surviving Spouse,
and Personal Representative of the Estate of FANNY
ESPINOZA, Deceased;
CHRISTIAN ESPINOZA, as surviving Child of FANNY
ESPINOZA, Deceased;
STEPHANIE ESPINOZA, as surviving Child of
FANNY ESPINOZA, Deceased;

JEANNE M. EVANS, Individually, as surviving Sibling,
and Personal Representative of the Estate of ROBERT
EVANS, Deceased;

LAURA FALLON, Individually, as surviving Spouse,
and Personal Representative of the Estate of WILLIAM
FALLON, JR., Deceased;

PATRICIA FALLONE, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ANTHONY FALLONE, Deceased;

MAUREEN FANNING, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOHN FANNING, Deceased;



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AMY POLMAR, Individually, as surviving Spouse, and
Personal Representative of the Estate of DOUGLAS
FARNUM, Deceased;

MARYANNE FARRELL, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOHN FARRELL, Deceased;

MELISSA VAN NESS FATHA, Individually, as
surviving Spouse, and Personal Representative of the
Estate of SYED ABDUL FATHA, Deceased;

STEVEN FEIDELBERG, Individually, as surviving
Sibling, and Personal Representative of the Estate of
PETER FEIDELBERG, Deceased;

WENDY S. FEINBERG, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ALAN FEINBERG, Deceased;
MICHAEL FEINBERG, as surviving Child of ALAN
FEINBERG, Deceased;
TARA FEINBERG EDGETTE, as surviving Child of
ALAN FEINBERG, Deceased;

MARY L. FERGUSON, Individually, as surviving
Spouse, and Personal Representative of the Estate of
GEORGE J. FERGUSON, III, Deceased;
MATTHEW FERGUSON, as surviving Child of
GEORGE J. FERGUSON, III, Deceased;

JULIO C. FERNANDEZ, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JULIO FERNANDEZ, Deceased;

CHARLENE FIORE, Individually, as surviving Spouse,
and Personal Representative of the Estate of MICHAEL
FIORE, Deceased;
JESSICA FIORE LACASSE, as surviving Child of
MICHAEL FIORE, Deceased;
CRISTEN FIORE STAIANO, as surviving Child of
MICHAEL FIORE, Deceased;
MICHAEL FIORE, as surviving Child of MICHAEL
FIORE, Deceased;




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BRIAN FLANNERY, Individually, as surviving Spouse,
and Personal Representative of the Estate of
CHRISTINA FLANNERY, Deceased;

LORI FLETCHER, Individually, as surviving Spouse,
and Personal Representative of the Estate of ANDRE
FLETCHER, Deceased;

NANCY WALSH, Individually, as surviving Partner,
and Co-Personal Representative of the Estate of CAROL
FLYZIK, Deceased;

CLAUDIA FLYZIK, Individually, as surviving Sibling,
and Co-Personal Representative of the Estate of CAROL
FLYZIK, Deceased;

JOANNE GROSS, Individually, as surviving Sibling,
and Personal Representative of the Estate of THOMAS
FOLEY, Deceased;

ROBERT T. FOLGER, Individually, as surviving Child,
and Personal Representative of the Estate of JANE
FOLGER, Deceased;
KATHLEEN KULIK, as surviving Child of JANE
FOLGER, Deceased;
THOMAS FOLGER, as surviving Child of JANE
FOLGER, Deceased;
MICHAEL FOLGER, as surviving Child of JANE
FOLGER, Deceased;

MARIAN FONTANA, Individually, as surviving
Spouse, and Personal Representative of the Estate of
DAVID J. FONTANA, Deceased;

KURT FOSTER, Individually, as surviving Spouse, and
Personal Representative of the Estate of CLAUDIA
FOSTER, Deceased;

TIERNEY TRAMONTOZZI, Individually, as surviving
Spouse, and Personal Representative of the Estate of
KEVIN FRAWLEY, Deceased;

JEANINE L. FRAZIER, Individually, as surviving
Spouse, and Personal Representative of the Estate of
CLYDE FRAZIER, JR., Deceased;




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MICHELLE FREDERICKS, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ANDREW FREDERICKS, Deceased;
ANDREW J, FREDERICKS, as surviving Child of
ANDREW FREDERICKS, Deceased;
HAYLEY FREDERICKS, as surviving Child of
ANDREW FREDERICKS, Deceased;

ROBIN A. FREUND, Individually, as surviving Spouse,
and Personal Representative of the Estate of PETER L.
FREUND, Deceased;
JULIE A. FREUND, as surviving Child of PETER L.
FREUND, Deceased;

KENNETH FRIED, Individually, as surviving Spouse,
and Personal Representative of the Estate of ARLENE
FRIED, Deceased;

HELEN FRIEDLANDER DEL SINDACO, Individually,
as surviving Spouse, and Personal Representative of the
Estate of ALAN W. FRIEDLANDER, Deceased;

LISA FRIEDMAN-CLARK, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ANDREW FRIEDMAN, Deceased;
MIKE FRIEDMAN, as surviving Child of ANDREW
FRIEDMAN, Deceased;
DAN FRIEDMAN, as surviving Child of ANDREW
FRIEDMAN, Deceased;

MEREDITH FRY, Individually, as surviving Spouse,
and Personal Representative of the Estate of PETER
FRY, Deceased;
TAYLOR MCCLINTOCK FRY, as surviving Child of
PETER FRY, Deceased;
CALEY LOOMIS FRY, as surviving Child of PETER
FRY, Deceased;
CHARLES GORDON FRY, as surviving Parent of
PETER FRY, Deceased;

ANNE GABRIEL, Individually, as surviving Spouse,
and Personal Representative of the Estate of RICHARD
P. GABRIEL, Deceased;
ROBERT CALLANAN, as surviving Stepchild of
RICHARD P. GABRIEL, Deceased;




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MONICA GABRIELLE, Individually, as surviving
Spouse, and Personal Representative of the Estate of
RICHARD S. GABRIELLE, Deceased;

FRANCINE GALLAGHER, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOHN P. GALLAGHER, Deceased;

MILAGROS DIAZ, Individually, as surviving Parent,
and Personal Representative of the Estate of LOURDES
JANET GALLETTI, Deceased;

MANUELA NITA-VAZQUEZ, Individually, as
surviving Spouse, and Personal Representative of the
Estate of CONO GALLO, Deceased;
RAFFAELA GALLO, as surviving Parent of CONO
GALLO, Deceased;
EMILIO GALLO, as surviving Parent of CONO
GALLO, Deceased;
LISA GALLO, as surviving Sibling of CONO GALLO,
Deceased;
JOHN GALLO, as surviving Sibling of CONO GALLO,
Deceased;

KATHLEEN GANCI, Individually, as surviving Spouse,
and Personal Representative of the Estate of PETER J.
GANCI, Deceased;

DOROTHY GARCIA-BACHLER, Individually, as
surviving Spouse, and Personal Representative of the
Estate of ANDREW GARCIA, Deceased;

HECTOR & CARMEN GARCIA, Individually, as
surviving Parent, and Personal Representative of the
Estate of MARLYN C. GARCIA, Deceased;

ELIZABETH GARDNER, Individually, as surviving
Spouse, and Personal Representative of the Estate of
THOMAS GARDNER, Deceased;

ELISABET GARDNER, Individually, as surviving
Spouse, and Personal Representative of the Estate of
WILLIAM GARDNER, Deceased;




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ANTONIA GARGANO, Individually, as surviving
Parent, and Personal Representative of the Estate of
ROCCO N. GARGANO, Deceased;

JILL A. GARTENBERG PILA, Individually, as
surviving Spouse, and Personal Representative of the
Estate of JAMES GARTENBERG, Deceased;
JILL A. GARTENBERG PILA on behalf of NICOLE
HOLLY GARTENBERG PILA, minor, as surviving
Child of JAMES GARTENBERG, Deceased;
JILL A. GARTENBERG PILA on behalf of JAMIE
MICHELLE GARTENBERG PILA, minor, as surviving
Child of JAMES GARTENBERG, Deceased;

MICHELLE GELINAS, Individually, as surviving
Spouse, and Personal Representative of the Estate of
PETER GELINAS, Deceased;
JACK G. GELINAS, as surviving Child of PETER
GELINAS, Deceased;
GRIFFIN C. GELINAS, as surviving Child of PETER
GELINAS, Deceased;

DEBRA GELLER, Individually, as surviving Spouse,
and Personal Representative of the Estate of STEVEN
GELLER, Deceased;

DIANE GENCO, Individually, as surviving Spouse, and
Personal Representative of the Estate of PETER V.
GENCO, JR., Deceased;

EILEEN GERATY, Individually, and as Estate
Administrator of the Estate of Suzanne Geraty, Deceased
and on behalf of all survivors of Suzanne Geraty;

PHILIP GERMAIN, Individually, as surviving Parent,
and Personal Representative of the Estate of DENIS
GERMAIN, Deceased;
MICHAEL GERMAIN, as surviving Sibling of DENIS
GERMAIN, Deceased;
BRIAN GERMAIN, as surviving Sibling of DENIS
GERMAIN, Deceased;
PEGGY DOBRINSKI, as surviving Sibling of DENIS
GERMAIN, Deceased;
THERESA RUTHER, as surviving Sibling of DENIS
GERMAIN, Deceased;




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SONDRA GIACCONE, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOSEPH GIACCONE, Deceased;
ALEXANDRA GIACCONE, as surviving Child of
JOSEPH GIACCONE, Deceased;
MAX GIACCONE, as surviving Child of JOSEPH
GIACCONE, Deceased;
JAMES GIACCONE, as Personal Representative of the
Estate of ELIZABETH GIACCONE, Deceased,
surviving parent of JOSEPH GIACCONE;
JAMES GIACCONE, as Personal Representative of the
Estate of VINCENT GIACCONE, Deceased, surviving
parent of JOSEPH GIACCONE;
ELISABETH FELDON, as surviving Sibling of JOSEPH
GIACCONE, Deceased;
JAMES GIACCONE, as surviving Sibling of JOSEPH
GIACCONE, Deceased;
MICHAEL GIACCONE, as surviving Sibling of
JOSEPH GIACCONE, Deceased;

CAROL GIES, Individually, as surviving Spouse, and
Personal Representative of the Estate of RONNIE E.
GIES, Deceased;

LORRAINE MARCHESE, Individually, as surviving
Parent, and Personal Representative of the Estate of
LAURA A. MARCHESE GIGLIO, Deceased;

MARIANN COYLE, Individually, as surviving Spouse,
and Personal Representative of the Estate of ANDREW
GILBERT, Deceased;

JOHN J. GILL, JR., Individually, as surviving Parent,
and Personal Representative of the Estate of PAUL J.
GILL, Deceased;

SERINA GILLIS, Individually, as surviving Ex-Spouse
of / Not Solatium, and Personal Representative of the
Estate of RODNEY C. GILLIS, Deceased;
JONIQUE C. GILLIS, as surviving Child of RODNEY
C. GILLIS, Deceased;
ALEESIA C. GILLIS, as surviving Child of RODNEY
C. GILLIS, Deceased;
RODNEY C. GILLIS, II, as surviving Child of
RODNEY C. GILLIS, Deceased;




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ROXANN GIORDANO, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOHN GIORDANO, Deceased;

ARMINE GIORGETTI, Individually, as surviving
Spouse, and Personal Representative of the Estate of
STEVEN A. GIORGETTI, Deceased;
PAUL GIORGETTI, as surviving Child of STEVEN A.
GIORGETTI, Deceased;
ALEXA GIORGETTI, as surviving Child of STEVEN
A. GIORGETTI, Deceased;

ANGELA GITTO, Individually, as surviving Spouse,
and Personal Representative of the Estate of
SALVATORE GITTO, Deceased;
GREGORY GITTO, as surviving Child of
SALVATORE GITTO, Deceased;
STEPHEN GITTO, as surviving Child of SALVATORE
GITTO, Deceased;

LAWRENCE GIUGLIANO, Individually, as surviving
Spouse, and Personal Representative of the Estate of
CYNTHIA GIUGLIANO, Deceased;

MEG BLOOM GLASSER, Individually, as surviving
Spouse, and Personal Representative of the Estate of
THOMAS GLASSER, Deceased;

CANDY GLAZER, Individually, as surviving Spouse,
and Personal Representative of the Estate of EDMUND
GLAZER, Deceased;

SHARON COBB-GLENN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
HARRY GLENN, Deceased;

HELENE GNAZZO, Individually, as surviving Spouse,
and Personal Representative of the Estate of JOHN T.
GNAZZO, Deceased;
JULE GNAZZO, as surviving Child of JOHN T.
GNAZZO, Deceased;
JOHN GNAZZO, as surviving Child of JOHN T.
GNAZZO, Deceased;




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JODIE GOLDBERG SHERER, Individually, as
surviving Spouse, and Personal Representative of the
Estate of BRIAN GOLDBERG, Deceased;

LACHANZE GOODING, Individually, as surviving
Spouse, and Personal Representative of the Estate of
CALVIN J. GOODING, Deceased;

RACHEL W. GOODRICH, Individually, as surviving
Spouse, and Personal Representative of the Estate of
PETER GOODRICH, Deceased;

DAVID DWIGHT NELSON, Individually, as surviving
Child, and Personal Representative of the Estate of
KERENE GORDON, Deceased;

LLOYD C. MAIR, Individually, as surviving Sibling,
and Personal Representative of the Estate of LINDA C.
MAIR GRAYLING, Deceased;
ISA S. MARTIN, as surviving Child of LINDA C.
MAIR GRAYLING, Deceased;
YVONNE D. RAMIREZ, as surviving Sibling of
LINDA C. MAIR GRAYLING, Deceased;
ROGER B. MAIR, as surviving Sibling of LINDA C.
MAIR GRAYLING, Deceased;
ANNETTE MAIR, as surviving Sibling of LINDA C.
MAIR GRAYLING, Deceased;
IRENE L. MAIR, as surviving Sibling of LINDA C.
MAIR GRAYLING, Deceased;

CLAUDETTE B. GREENE, Individually, as surviving
Spouse, and Personal Representative of the Estate of
DONALD GREENE, Deceased;
CHARLES GREENE, as surviving Child of DONALD
GREENE, Deceased;
JODY GREENE, as surviving Child of DONALD
GREENE, Deceased;

PETER GREENLEAF, Individually, as surviving
Sibling, and Personal Representative of the Estate of
JAMES GREENLEAF, Deceased;
PATRICIA GREENLEAF, as surviving Parent of
JAMES GREENLEAF, Deceased;




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JOHN F. GREGORY, Individually, as surviving Parent,
and Personal Representative of the Estate of FLORENCE
M. GREGORY, Deceased;

BOBBY GRIFFIN, Individually, as surviving Spouse,
and Personal Representative of the Estate of TAWANNA
GRIFFIN, Deceased;

MARY JO GRILLO, Individually, as surviving Spouse,
and Personal Representative of the Estate of JOSEPH
GRILLO, Deceased;
MATTHEW GRILLO, as surviving Child of JOSEPH
GRILLO, Deceased;
TIMOTHY GRILLO, as surviving Child of JOSEPH
GRILLO, Deceased;
JOSEPH GRILLO, as surviving Parent of JOSEPH
GRILLO, Deceased;
STEVEN GRILLO, as surviving Sibling of JOSEPH
GRILLO, Deceased;

SUSAN MALLERY GURIAN, Individually, as
surviving Spouse, and Personal Representative of the
Estate of DOUGLAS B. GURIAN, Deceased;
MARY HAAG, Individually, as surviving Spouse, and
Personal Representative of the Estate of GARY HAAG,
Deceased;
MICHAEL P. HAAG, as surviving Child of GARY
HAAG, Deceased;
KEVIN T. HAAG, as surviving Child of GARY HAAG,
Deceased;
MARY HAAG on behalf of MOLLY M. HAAG, minor,
as surviving Child of GARY HAAG, Deceased;

GORDON HABERMAN, Individually, as surviving
Parent, and Personal Representative of the Estate of
ANDREA L. HABERMAN, Deceased;
KATHLEEN HABERMAN, as surviving Parent of
ANDREA L. HABERMAN, Deceased;
JULIE ANN HABERMAN OSMUS, as surviving
Sibling of ANDREA L. HABERMAN, Deceased;

LENA WHITTAKER, Individually, as surviving Parent,
and Personal Representative of the Estate of KAREN E.
HAGERTY, Deceased;




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PATRICIA HAN, Individually, as surviving Spouse, and
Personal Representative of the Estate of FREDERICK K.
HAN, Deceased;
ERIC JAY HAN, as surviving Child of FREDERICK K.
HAN, Deceased;
PATRICIA HAN, as Personal Representative of the
Estate of, KIM HAN, Deceased, surviving Parent of
FREDERICK K. HAN;

RENE B. HANNAFIN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
THOMAS HANNAFIN, Deceased;

CAROL HARAN, Individually, as surviving Spouse, and
Personal Representative of the Estate of JAMES
HARAN, Deceased;

MARGARET HARRELL, Individually, as surviving
Spouse, and Personal Representative of the Estate of
STEPHEN G. HARRELL, Deceased;

RACHEL R. HARRELL, Individually, as surviving
Spouse, and Personal Representative of the Estate of
HARVEY L. HARRELL, Deceased;

SHEILA HARRIS, Individually, as surviving Spouse,
and Personal Representative of the Estate of STEWART
D. HARRIS, Deceased;
ELISSA HARRIS, as surviving Child of STEWART D.
HARRIS, Deceased;
CRAIG HARRIS, as surviving Child of STEWART D.
HARRIS, Deceased;

ELINORE HARTZ, Individually, as surviving Spouse,
and Personal Representative of the Estate of JOHN C.
HARTZ, Deceased;

JENNIFER HARVEY-TRAINOR, Individually, as
surviving Spouse, and Personal Representative of the
Estate of EMERIC J. HARVEY, Deceased;
MARIE HARVEY RYAN, as surviving Sibling of
EMERIC J. HARVEY, Deceased;

JOANNE HATTON, Individually, as surviving Spouse,
and Personal Representative of the Estate of LEONARD
HATTON, Deceased;



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